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                                                                                      8   LLC, and ECIBSUB, LLC
                                                                                      9                          UNITED STATES DISTRICT COURT
                                                                                     10                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                     11                                  WESTERN DIVISION
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                                                                                     13   BILL A. BUSBICE, JR., an individual;          Case No. CV 14-4077 PA (AJWx)
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                                                                                          OLLA PRODUCTIONS, LLC, a limited              consolidated with CV 14-7063 PA
                                                                                     14   liability company; and ECIBSUB, LLC,          (AJWx)
                                                                                          a limited liability company,
                                                                                     15                                                 Magistrate Judge Andrew J. Wistrich
                                                                                                           Plaintiffs,
                                                                                     16
                                                                                                     v.                                 PLAINTIFFS’ SUPPLEMENTAL
                                                                                     17                                                 BRIEF RE: ARBITRATION-
                                                                                          JAMES DAVID WILLIAMS, an                      BASED DISCOVERY
                                                                                     18   individual; et al.,                           OBJECTION (PURSUANT TO
                                                                                                                                        COURT’S ORDER AT DOCKET
                                                                                     19                    Defendants.                  NO. 49).
                                                                                     20
                                                                                          AND RELATED CONSOLIDATED
                                                                                     21   ACTION.                                       Discovery Cut-off: July 27, 2015
                                                                                                                                        Trial Date: October 6, 2015
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                                                                                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1   1.         INTRODUCTION
                                                                                      2              As shown in their recently filed Motion for Determination of Application of
                                                                                      3   Crime-Fraud Exception (Dkt Nos. 50-54), Plaintiffs were the victims of a massive
                                                                                      4   fraud. As part of a continuing scheme lasting nine months, at least four individuals,
                                                                                      5   including defendant Gerald Seppala (“Seppala”), conspired to, and did, fraudulently
                                                                                      6   induce Plaintiffs to invest $10,900,00 in specific investment-entities that
                                                                                      7   purportedly owned and/or controlled rights to four films: Made in America, Left
                                                                                      8   Behind, The Letters, and Angels Sing. The investments, however, were a sham,
                                                                                      9   designed by the con men-defendants to steal Plaintiffs’ investment funds.
                                                                                     10              Seppala was the head of the snake – the first of the Defendants to approach
                                                                                     11   Plaintiffs, and Plaintiffs’ point of introduction to the other Defendants. Seppala
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                                                                                     12   held himself out as the producer of Made in America, which was the subject of the
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                                                                                     13   first fraudulently-induced investment. He was both the man in charge and
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                                                                                     14   Plaintiffs’ fiduciary with respect to that first investment. Indeed, he served as the
                                                                                     15   managing member of defendant Visions, LLC (“Visions”) – the first entity into
                                                                                     16   which Plaintiffs were tricked into investing. It was Seppala who represented to
                                                                                     17   Plaintiffs that investing in Made in America, along with defendant James David
                                                                                     18   Williams (“Williams”) was a special opportunity because Williams was a
                                                                                     19   prominent Hollywood executive and financier who typically did not invest in
                                                                                     20   projects as small as Made in America. It was Seppala who sent Plaintiffs the
                                                                                     21   fraudulently created and demonstrably false “wire confirmation” on April 15, 2013
                                                                                     22   reflecting that Williams had already transferred his $500,000 into Visions’
                                                                                     23   corporate bank account. And it was Seppala who signed and provided to Plaintiffs
                                                                                     24   an acknowledgment on April 25, 2013 certifying that Visions had already received
                                                                                     25   Williams’ $500,000 “by way of wire transfer into the checking or deposit account
                                                                                     26   of Visions, LLC[.]” All of those statements were patently false and fraudulently
                                                                                     27   intended to induce Plaintiffs to invest their first $500,000 with Defendants.
                                                                                     28
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                                                                                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1         After Plaintiffs made that first investment, Seppala assisted his co-
                                                                                      2   conspirators in swindling Plaintiffs out of more than $10 million in later
                                                                                      3   “investments,” not only by actively concealing that the Made in America project
                                                                                      4   was a sham, but by affirmatively representing to Plaintiffs at critical times when
                                                                                      5   later investments were being pitched that things were progressing as planned and
                                                                                      6   that various milestones were being reached with respect to the project. And
                                                                                      7   Seppala was rewarded handsomely for his duplicity, receiving at least tens of
                                                                                      8   thousands of dollars over the course of April 2013 – April 2014 from the various
                                                                                      9   investment-entity accounts as his cut of the conspiracy’s proceeds.
                                                                                     10         There is no dispute that Plaintiffs were at least co-equal investors in and
                                                                                     11   members of Visions – although the evidence shows that Plaintiffs were the only
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                                                                                     12   party to ever actually invest anything in Visions. Nonetheless, although they
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                                                                                     13   admittedly have information relating to the company and the Made in America
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                                                                                     14   investment (which has never been provided to Plaintiffs, despite their requests),
                                                                                     15   both Visions and Visions’ managing member (and Plaintiffs’ fiduciary), Seppala,
                                                                                     16   refuse to provide any such information to Plaintiffs.
                                                                                     17         Seppala’s and Visions’ complete refusal to provide any information relating
                                                                                     18   to Visions or the Made in America investment is not based on irrelevance, privacy,
                                                                                     19   or undue burden. Rather, it is based solely on the fact that the Court has referred a
                                                                                     20   relatively small slice of this case to arbitration. This novel and wholly unsupported
                                                                                     21   “arbitration objection,” however, is meritless. As explained below, after
                                                                                     22   considering the relationship between the few arbitrable claims and the many non-
                                                                                     23   arbitrable claims and weighing the relevant factors, the Court decided that the great
                                                                                     24   bulk of this case should not be stayed, but rather should proceed in the normal
                                                                                     25   course in this Court. Included in these non-stayed claims are: (1) Plaintiffs’
                                                                                     26   conspiracy to defraud claims against Seppala and Visions to recover damages for
                                                                                     27   the fraudulently-induced investments in Angels Sing, Left Behind and The Letters;
                                                                                     28   and (2) all of the Plaintiffs’ claims against the nine other defendants, including
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                                                                                      1   those claims based on the Made in America investment. Thus, Seppala and Visions
                                                                                      2   are full-fledged parties to this case, and Plaintiffs are required to try their fraud and
                                                                                      3   conspiracy-based claims (including as they relate to the Made in America
                                                                                      4   investment) in this Court in October.
                                                                                      5         As discussed in Sections 3 and 4 below, nothing in the Court’s ruling on the
                                                                                      6   motions to compel arbitration suggests that Plaintiffs should not have the right to
                                                                                      7   obtain information from Seppala and Visions in discovery in this action that is
                                                                                      8   relevant to non-stayed claims heading to trial in this Court. On the contrary, the
                                                                                      9   Court’s decision not to stay this case relied heavily on an earlier order issued by
                                                                                     10   Judge Anderson, which recognized that in a situation like this (where related claims
                                                                                     11   are proceeding in both a court and an arbitration action), the parties to the district
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                                                                                     12   court action must participate fully in discovery, even if they also are parties to the
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                                                                                     13   arbitration proceeding and the discovery also relates to the arbitrable claims.
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                                                                                     14         That is the only fair and logical result. Overruling Seppala’s and Visions’
                                                                                     15   “arbitration objection” to discovery in this action ensures that Plaintiffs will be
                                                                                     16   entitled to discover critical information that is directly relevant to the claims that
                                                                                     17   Plaintiffs are expected to try in this Court, from the central, and in some cases, only,
                                                                                     18   sources of such information. Conversely, sustaining the unsupported “arbitration
                                                                                     19   objection” only serves to allow these parties to continue to conceal the critical facts
                                                                                     20   from Plaintiffs. What legitimate and overriding interest does Visions have in
                                                                                     21   withholding relevant information from its own member? What legitimate and
                                                                                     22   overriding interest does Seppala (Visions’ managing member and Plaintiffs’
                                                                                     23   fiduciary) have in withholding such information?
                                                                                     24         Furthermore, it is unclear what sustaining the “arbitration objection” would
                                                                                     25   mean in this case going forward. Certainly, Plaintiffs will be deposing Seppala and
                                                                                     26   Visions in this action, but would Seppala be entitled to refuse to answer any
                                                                                     27   questions relating to the purported Made in America project, despite the fact that
                                                                                     28   representations regarding the status of that project were made by Seppala and others
                                                                                          25436316                                 -3-
                                                                                               PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1   as the scheme progressed in order to induce the later investments? The answer, of
                                                                                      2   course, must be no. Indeed, courts considering situations like these consistently
                                                                                      3   resolve such discovery issues in favor of disclosure, if the information sought is
                                                                                      4   relevant to the non-stayed claims.
                                                                                      5         Visions and Seppala would prefer to continue to conceal the truth from
                                                                                      6   Plaintiffs for as long as possible, and take advantage of the narrow scope of
                                                                                      7   discovery allowed in arbitration. But that preference does not change the fact that
                                                                                      8   the information sought from them in this lawsuit is relevant to claims proceeding in
                                                                                      9   this lawsuit against both them and their nine co-defendants. And that preference
                                                                                     10   does not alter or defeat Plaintiffs’ discovery rights in this action under the Federal
                                                                                     11   Rules of Civil Procedure. The unsupported “arbitration objection” should be
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                                                                                     12   overruled, and Visions and Seppala should be ordered to produce all documents in
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                                                                                     13   their possession, custody or control that are responsive to Plaintiffs’ first set of
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                                                                                     14   requests for production of documents.
                                                                                     15   2.    A RECAP, AND AN UPDATE, ON THE ARBITRATION-BASED
                                                                                     16         OBJECTIONS TO PRODUCTION OF DOCUMENTS
                                                                                     17         On September 10, 2014, Plaintiffs served a comprehensive set of requests for
                                                                                     18   production of documents (“Document Requests”) on all Defendants. On October
                                                                                     19   14, 2014, all Defendants served nothing but cut-and-pasted boilerplate objections to
                                                                                     20   every request.
                                                                                     21         On October 23, 2014, the Court issued its Order on the motions to compel
                                                                                     22   arbitration (discussed in Section 3 below).
                                                                                     23         On November 21, 2014, defendants Visions and Seppala served amended
                                                                                     24   responses to the Document Requests, which claimed that the only responsive
                                                                                     25   documents that Visions and Seppala had were related to the Made in America
                                                                                     26   investment, and which objected to producing such documents based on the
                                                                                     27   arbitration ruling. Nonetheless, in connection with these amended responses,
                                                                                     28   Visions and Seppala did produce two documents relating to the Made in America
                                                                                          25436316                              -4-
                                                                                               PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1   investment that they apparently believed were “harmless enough” to produce:
                                                                                      2   Visions’ Member Control Agreement and its Articles of Organization. (Declaration
                                                                                      3   of Thomas H. Prouty (“Prouty Decl.”), ¶ 5.) This partial disclosure is inconsistent
                                                                                      4   with, and should be deemed a waiver of, these defendants’ broad and misguided
                                                                                      5   arbitration-based objection.
                                                                                      6              Plaintiffs filed a motion to compel discovery responses and document
                                                                                      7   production raising a number of issues with Defendants’ discovery conduct on
                                                                                      8   February 9, 2015. (Dkt. Nos. 39-40). Defendants opposed on March 16, 2015
                                                                                      9   (Dkt. 43) and Plaintiffs replied on March 23, 2015 (Dkt. Nos. 45-47). On April 6,
                                                                                     10   2015, after a hearing on the motion, the Court, among other things, set April 13,
                                                                                     11   2015 as a deadline for Defendants to complete document production and serve
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                                                                                     12   supplemental responses to the Document Requests, and directed each side to file a
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                                                                                     13   supplemental brief regarding the arbitration-based objections by April 17, 2015.
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                                                                                     14              On April 13, 2015, defendants Visions and Seppala served further amended
                                                                                     15   responses to the Document Requests. (Prouty Decl., ¶¶ 7-8; Exs. A-B.)
                                                                                     16   (Defendants Reiss and Brown also served amended responses on that date;
                                                                                     17   however, to date, no amended responses have been served by the remaining seven
                                                                                     18   defendants. In addition, it appears that while Defendants re-produced a fraction of
                                                                                     19   its previously produced electronically-stored information in a different format, no
                                                                                     20   new documents were produced. In short, Defendants have utterly failed to comply
                                                                                     21   with the Court’s April 6th Order, and their document production remains woefully
                                                                                     22   incomplete. (Id., ¶ 7.)
                                                                                     23              Visions’ and Seppala’s further amended responses to the Document Requests
                                                                                     24   continue to take the position that the only responsive documents that they have
                                                                                     25   relate to Made in America and therefore do not need to be produced. Based on this
                                                                                     26   objection, these defendants are refusing to produce:
                                                                                     27                   Documents relating to the Made in America film (RFP No. 1);
                                                                                     28                   Documents relating to the Made in America investment (RFP No. 3);
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                                                                                      1                Documents constituting or otherwise relating to communications with
                                                                                      2                   Plaintiffs (RFP No. 6);
                                                                                      3                Communications with Defendants or any third party relating to this
                                                                                      4                   lawsuit, or to the Plaintiffs, or to the subject films or investments
                                                                                      5                   (RFP Nos. 7-11, 13, 16, and 18);
                                                                                      6                Documents relating to any investments, expenditures or payments of
                                                                                      7                   any kind made by any of the Defendants relating to the Made in
                                                                                      8                   America film or deal (RFP Nos. 22 and 26);
                                                                                      9                Documents constituting or otherwise relating to any of Visions’
                                                                                     10                   financial and/or accounting records (RFP No. 31);
                                                                                     11                Communications with Defendants or any third party relating to any of
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                                                                                     12                   Visions’ financial and/or accounting records (RFP Nos. 36-37);
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                                                                                     13                Documents constituting, transmitting or relating in any way to the
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                                                                                     14                   fraudulently created “Purported 4/24/13 Screenshot,” which was sent
                                                                                     15                   to Plaintiffs to induce their investment in Visions (RFP Nos. 53-55);
                                                                                     16                  Documents constituting, transmitting or relating in any way to the
                                                                                     17                   fraudulently created “Purported 4/15/13 Wire Confirmation,” which
                                                                                     18                   Seppala sent to Plaintiffs to induce their investment in Visions (RFP
                                                                                     19                   Nos. 56-58);
                                                                                     20                Documents relating to the transfers or expenditures of funds from
                                                                                     21                   Visions’ bank account, including any documents that reflect the
                                                                                     22                   plans, budgets, needs, reasons, agreements, purposes and/or
                                                                                     23                   justifications for such transfers or expenditures (RFP No. 59);
                                                                                     24                Communications with Defendants or any third party relating to
                                                                                     25                   Visions’ bank account (RFP No. 64);
                                                                                     26                Documents relating to Seppala’s receipt, acceptance, use, expenditure
                                                                                     27                   or transfer of all funds received by Seppala directly from the various
                                                                                     28                   defendant investment entities’ bank accounts (RFP Nos. 77-78);
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                                                                                      1                    Statements of all bank accounts held or controlled by Visions from
                                                                                      2                      January 1, 2013 to the present (RFP No. 110); and
                                                                                      3                    Any and all of Visions’ accounting/bookkeeping ledgers reflecting
                                                                                      4                      any status or activity from January 1, 2013 to the present (RFP No.
                                                                                      5                      117).
                                                                                      6    (Prouty Decl., ¶ 8, Exs. A-B.)
                                                                                      7    3.         THE COURT’S ORDER ON THE MOTIONS TO COMPEL
                                                                                      8               ARBITRATION
                                                                                      9               On September 9, 2014, Defendants Seppala and Visions filed a motion to
                                                                                     10    compel arbitration (the “Seppala/Visions Motion”) (Dkt. 21); and Defendants
                                                                                     11    Williams and Moment Factory filed a separate motion to compel arbitration (the
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                                                                                     12    “Williams/Moment Factory Motion”) (Dkt. 22).
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                                                                                     13               The Seppala/Visions Motion was based on an arbitration provision in
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                                                                                     14    Visions’ Member Control Agreement, which was governed by Minnesota law.
                                                                                     15    Visions was the special purpose entity created for the Made in America investment,
                                                                                     16    and the Seppala/Visions Motion argued that the arbitration provision encompassed
                                                                                     17    Plaintiffs’ claims relating to the Made in America investment.
                                                                                     18               The Williams/Moment Factory Motion was based on an arbitration provision
                                                                                     19    in Moment Factory’s Operating Agreement, which was governed by California law.
                                                                                     20    Moment Factory was the special purpose entity created for the Angels Sing
                                                                                     21    investment, and the Williams/Moment Factory Motion argued that the arbitration
                                                                                     22    provision encompassed Plaintiffs’ claims relating to the Angels Sing investment.
                                                                                     23               There was no claim that any arbitration provision stretched far enough to
                                                                                     24    encompass the disputes and claims relating to the $6 million investment relating to
                                                                                     25    The Letters or the $2.4 million investment relating to Left Behind.
                                                                                     26               On October 23, 2014, the Court issued an Order denying the
                                                                                     27    Williams/Moment Factory Motion in its entirety, and granting in part and denying
                                                                                     28
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                                                                                                  PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    in part the Seppala/Visions Motion (Dkt. 35). A true and correct copy of the Order
                                                                                      2    is attached hereto as Exhibit 1.
                                                                                      3          In denying the Williams/Moment Factory Motion, the Court recognized that,
                                                                                      4    under applicable California law, it had the discretion to refuse to compel arbitration,
                                                                                      5    and it found good reason to do so. (Ex. 1 at pp. 4-5.) Thus, claims relating to the
                                                                                      6    $2 million investment in Angels Sing that might otherwise have been ordered to
                                                                                      7    arbitration were not.
                                                                                      8          With respect to the Seppala/Visions Motion, the Court determined that
                                                                                      9    claims against Seppala and Visions relating to Made in America fell within the
                                                                                     10    subject arbitration provision and that the Court lacked the discretion to refuse to
                                                                                     11    enforce it. Thus, the Court referred Plaintiffs’ “Made in America claims” against
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                                                                                     12    Visions and Seppala – the only arbitrable claims – to arbitration. (Ex. 1 at pp. 5-6.)
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                                                                                     13          The next question was whether any of the non-arbitrable claims, including
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                                                                                     14    Plaintiffs’ “Made in America claims” against the other defendants should be stayed.
                                                                                     15    Considering the relevant factors and the nature of the various claims, the Court
                                                                                     16    clearly resolved that question in the negative: “Here, the relationship between the
                                                                                     17    arbitrable and nonarbitrable claims suggests that a stay is not appropriate. . . . [T]he
                                                                                     18    Court will not stay claims relating to Made in America with respect to Defendants
                                                                                     19    who were not parties to the Member Control Agreement.” (Ex. 1 at p. 6.)
                                                                                     20          Thus, the effect of the Court’s Order is that Plaintiffs’ claims against Seppala
                                                                                     21    and Visions (only), relating (only) to Plaintiff’s initial investment in Made in
                                                                                     22    America, were referred to arbitration. However, Plaintiffs’ claims relating to the
                                                                                     23    Made in America investment against the remaining defendants were not ordered to
                                                                                     24    arbitration. Likewise, Plaintiffs’ claims against Seppala and Visions that are related
                                                                                     25    to the other film investments were not ordered to arbitration.
                                                                                     26          Plaintiffs note that it is apparent that the Court’s Order contains a
                                                                                     27    transposition error on page 2, where it states that “Plaintiffs’ claims against
                                                                                     28    Williams, Moment Factory and Legacy Film Crest relating to Angels Sing should
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                                                                                                PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    be referred to arbitration (with no stay as to the remaining defendants), but that
                                                                                      2    Plaintiffs’ claims relating to Made in America should remain in this Court[,]”
                                                                                      3    instead of the intended: “Plaintiffs’ claims against Seppala and Visions relating to
                                                                                      4    Made in America should be referred to arbitration (with no stay as to the remaining
                                                                                      5    defendants), but that Plaintiffs’ claims relating to Angels Sing should remain in this
                                                                                      6    Court.” That this was an unintended error is clear from the rest of the Order,
                                                                                      7    particularly its correct determination that it is the Moment Factory/Angels Sing
                                                                                      8    arbitration provision (not the Visions/Made in America provision) that was
                                                                                      9    governed by California law, and which the Court therefore had the discretion to
                                                                                     10    refuse to enforce.
                                                                                     11               The parties do not dispute the meaning of the Court’s Order. Indeed, in their
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                                                                                     12    opposition to Plaintiffs’ motion to compel, the Defendants quoted with approval
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                                                                                     13    Plaintiffs’ description of the Order. (See Dkt. 43 at 13.) Thus, there is no dispute
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                                                                                     14    that:
                                                                                     15                Seppala and Visions are full-fledged parties to this lawsuit;
                                                                                     16                Those portions of Plaintiffs’ claims against Seppala and Visions that relate
                                                                                     17                 to Made in America and not to any of the other film investments were
                                                                                     18                 ordered to arbitration, but all remaining parts of Plaintiffs’ claims against
                                                                                     19                 Seppala and Vision were not ordered to arbitration;
                                                                                     20                No part of Plaintiffs’ claims against any of the other Defendants were
                                                                                     21                 ordered to arbitration; and
                                                                                     22                Plaintiffs are expected to try their entire case (including those portions of
                                                                                     23                 their claims that relate to Made in America) in this Court in October 2015.
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                                                                                                   PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    4.    THE ORDER DID NOT RESTRICT PLAINTIFFS’ RIGHT TO
                                                                                      2          DISCOVER INFORMATION FROM VISIONS AND SEPPALA
                                                                                      3          RELEVANT TO THE CLAIMS THAT WILL BE TRIED IN
                                                                                      4          OCTOBER – IN FACT, IT RELIED ON CASE LAW THAT WOULD
                                                                                      5          PERMIT SUCH DISCOVERY
                                                                                      6          Nothing in the Court’s Order states or even suggests that Plaintiffs are or
                                                                                      7    should be barred from obtaining discovery from any of the parties (including
                                                                                      8    Seppala and Visions) related to the claims going to trial in this Court in October,
                                                                                      9    which indisputably include claims concerning the Made in America investment. On
                                                                                     10    the contrary, in determining that such claims should not be stayed, but rather should
                                                                                     11    proceed toward resolution in this Court, the Order suggests the exact opposite.
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                                                                                     12          Significantly, the case on which the Court relied most heavily in reaching
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                                                                                     13    that determination – Judge Wilson’s decision in Global Live Events v. Ja-Tail
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                                                                                     14    Enterprises, LLC, 2014 U.S. Dist. LEXIS 63963 (C.D. Cal. May 8, 2014) (see Ex. 1
                                                                                     15    at p. 6, repeatedly citing the decision) – determined that, in a case like this, where
                                                                                     16    claims against certain defendants were in arbitration, and essentially the same
                                                                                     17    claims against those and other defendants were proceeding in a court action, the
                                                                                     18    parties would be expected to engage in full-fledged discovery in both actions.
                                                                                     19          In Global Live Events, the plaintiff sued four defendants alleging five closely
                                                                                     20    related claims, all of which were based on essentially the same set of facts
                                                                                     21    involving the same seven allegedly improper transfers of funds. Id. at *11-13. The
                                                                                     22    arbitration agreement applied to only one of the claims and against only two of the
                                                                                     23    defendants (the “arbitration-defendants”). Thus, unless the district court issued a
                                                                                     24    broad stay, the bulk of the case, including closely related claims against the
                                                                                     25    arbitration-defendants, would have headed toward trial while the lone non-
                                                                                     26    arbitrable claim would have proceeded in a parallel arbitration proceeding. Id. In
                                                                                     27    an attempt to avoid that result, the arbitration-defendants argued “that ‘if these
                                                                                     28    [court] proceedings are not stayed, the parties will have to conduct all of the same
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                                                                                                PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
                                                                                                               (PURSUANT TO COURT’S ORDER AT DOCKET NO. 49)
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                                                                                      1    discovery in both actions since all of the same witnesses and all of the same
                                                                                      2    evidence will be used in both proceedings.’” Id. at *18. Critically, the Court’s
                                                                                      3    direct response to that argument – “[b]ut this would still be true if the trial is
                                                                                      4    postponed until after the arbitration proceeding” – recognized that the arbitration-
                                                                                      5    defendants would not be able to avoid “conduct[ing] all of the same discovery” in
                                                                                      6    the district court that it could be asked to conduct in the arbitration. Id.
                                                                                      7          Judge Anderson’s heavy reliance in his Order on Global Live Events strongly
                                                                                      8    suggests that, in issuing the Order, the Court expected that Seppala and Visions
                                                                                      9    would have to answer questions and produce documents in this action related to the
                                                                                     10    issues heading to trial in this action. But in any event, just as the Court recognized
                                                                                     11    in Global Live Events that the arbitration-defendants would be expected to engage
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                                                                                     12    in discovery relevant to claims proceeding in the district court, this Court should
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                                                                                     13    now order Seppala and Visions to produce their documents, which are undeniably
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                                                                                     14    relevant to non-stayed claims heading to trial in October.
                                                                                     15          Another instructive case is Vertrue Inc. v. Meshkin, 2006 U.S. Dist. LEXIS
                                                                                     16    37700 (D. Conn. June 8, 2006). Vertrue involved a dispute between a corporation
                                                                                     17    (Vertrue) on one hand, and an individual, Alexander Meskin (“Meshkin”) and two
                                                                                     18    of his companies, on the other hand. The dispute resulted in multiple proceedings,
                                                                                     19    with one of Meskin’s companies initiating an arbitration proceeding against
                                                                                     20    Vertrue, and Vertrue filing a district court action against Meskin. Meskin had
                                                                                     21    moved to stay the district court action in favor of the related arbitration proceeding.
                                                                                     22    However, “even though the two proceedings were based on essentially the same
                                                                                     23    facts,” the district court declined to do so because Meshkin himself was not subject
                                                                                     24    to the arbitration provision, and would not be bound by an adjudication in the
                                                                                     25    arbitration proceeding. Id. at *13-14. As the actions proceeded, both sides sought
                                                                                     26    discovery from the other in the district court after the same discovery had been
                                                                                     27    disallowed by the tribunal in the arbitration, with each side accusing the other of
                                                                                     28    using the district court action to make an end-run around the tribunal’s orders. Id.
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                                                                                                PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    at *5, *10, *14. In each instance, the district court allowed the discovery to proceed
                                                                                      2    in the district court action, despite the fact that it had been disallowed in the
                                                                                      3    arbitration, because the requested information was still relevant to claims
                                                                                      4    proceeding in the district court. Id. at *14. In doing so, the court distinguished
                                                                                      5    those cases that have prohibited discovery on the merits with respect to issues in
                                                                                      6    arbitration on the ground that those cases involved complete stays pending the close
                                                                                      7    of arbitration. Id. at *13. Because the court in Vertrue had already decided that
                                                                                      8    claims would proceed toward trial in the district court despite the arbitration, the
                                                                                      9    only question was whether the discovery requested in the district court was relevant
                                                                                     10    to those claims proceeding in the district court. Id. at *15.
                                                                                     11               The same rationale applies here. There is no dispute that Seppala and
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                                                                                     12    Visions remain parties to this action, and there is no dispute that, after carefully
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                                                                                     13    considering all relevant factors, the Court has determined that “a stay is not
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                                                                                     14    appropriate[,]” that “[c]laims relating to Made in America will not be stayed with
                                                                                     15    respect to other Defendants[,]” and that Plaintiffs will be required to prove such
                                                                                     16    claims in this action. (Ex. 1 at p. 6.) The only question, then, is whether the
                                                                                     17    documents now being withheld by Seppala and Visions are directly relevant to such
                                                                                     18    claims. But that too, is undisputed.
                                                                                     19               As the Supreme Court observed in connection with the issue of whether non-
                                                                                     20    arbitrable claims should be stayed in favor of arbitration, “the heavy presumption
                                                                                     21    should be that the arbitration and the lawsuit will each proceed in its normal
                                                                                     22    course.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 225 (1985) (J. White,
                                                                                     23    concurring). The normal course here is that Plaintiffs would be entitled to the
                                                                                     24    information sought from Visions and Seppala because it is directly relevant to non-
                                                                                     25    stayed claims proceeding in this lawsuit. The objections to production should be
                                                                                     26    overruled.
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                                                                                                  PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    5.    PLAINTIFFS SHOULD NOT BE HANDICAPPED FROM PROVING
                                                                                      2          THEIR CLAIMS THAT WILL BE TRIED IN OCTOBER
                                                                                      3          There is no such thing as an “arbitration objection” to discovery. Claims are
                                                                                      4    either stayed or they are not stayed. Here, the district court did not stay claims
                                                                                      5    relating to Made in America vis-à-vis nine of the eleven defendants, and there is no
                                                                                      6    reason why Plaintiffs should be prevented from obtaining information from
                                                                                      7    defendants Seppala and Visions that is directly relevant to those non-stayed claims.
                                                                                      8    That is particularly true here, where Seppala and Visions occupied a unique role
                                                                                      9    and position with respect to the Made in America investment, and would be
                                                                                     10    expected to have information that other Defendants do not. For example, as noted
                                                                                     11    in Section 2 above, among the documents these defendants refuse to produce are
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                                                                                     12    Visions’ own accounting, bookkeeping and financial ledgers and records, and
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                                                                                     13    information about how the money invested in Visions was used, and why. As the
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                                                                                     14    company itself and the company’s managing member who was charged with
                                                                                     15    producing the purported film, Visions and Seppala are the custodians of these
                                                                                     16    records and the key source of the relevant related information.
                                                                                     17          Furthermore, even if the Made in America investment were not still part of
                                                                                     18    this case, which it is as to the nine other defendants, discovery regarding the Made
                                                                                     19    in America investment would still be directly relevant to this action, including
                                                                                     20    Plaintiffs’ non-stayed claims against Visions and Seppala, because the investment
                                                                                     21    for Made in America was part of an on-going conspiracy and much larger fraud.
                                                                                     22    The fraudulent scheme was designed to “start off small” with a relatively small
                                                                                     23    purported investment in a documentary (Made in America), and then ramp up to
                                                                                     24    multi-million dollar purported investments in feature length films. The $500,000
                                                                                     25    investment into Made in America was induced through fake bank statements
                                                                                     26    showing a purported investment by Williams that Plaintiffs later found out was
                                                                                     27    never made by Williams, or anyone else. After getting a hook on the Plaintiffs
                                                                                     28    through the investment into Made in America, the Defendants fleeced an additional
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                                                                                                PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    $10.4 million from the Plaintiffs through the use of the same type of phony bank
                                                                                      2    statements, as well as intentional misrepresentations regarding other investors’
                                                                                      3    purported investments that did not exist. And as previously noted, Plaintiffs’
                                                                                      4    willingness to continue to make investments was only made possible by
                                                                                      5    Defendants’ continued active concealment and misrepresentations regarding past
                                                                                      6    investments, including the Made in America investment, and their pervasive lies
                                                                                      7    about the expected realizations from those investments.
                                                                                      8          Furthermore, Defendants’ misuse and diversion of Plaintiffs’ money after the
                                                                                      9    investment in Made in America also makes it relevant to the non-stayed and non-
                                                                                     10    Made in America claims in this action. Defendants transferred the funds that
                                                                                     11    Plaintiffs invested in Visions for Made in America to accounts of other controlled
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                                                                                     12    sham entities and commingled them with other funds obtained from Plaintiffs for
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                                                                                     13    other investments. For example, within a business day of Plaintiffs’ $500,000
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                                                                                     14    investment in Visions, $485,000 on that amount was diverted to a different account
                                                                                     15    held by the Williams-controlled defendant, Legacy Film Crest, LLC (“Legacy”).
                                                                                     16    Defendants then further commingled and transferred those funds with other
                                                                                     17    accounts, before spending large sums on personal and/or unauthorized items having
                                                                                     18    no connection to Made in America.
                                                                                     19          If Visions and Seppala are permitted to continue to conceal their documents
                                                                                     20    and information, which they concede is relevant to the non-stayed claims in this
                                                                                     21    action, there will be a gaping hole in the facts known to Plaintiffs. Such a hole
                                                                                     22    would undoubtedly handicap Plaintiffs, not only from presenting their case to the
                                                                                     23    jury in less than six months, but from discovering other unknown facts before the
                                                                                     24    discovery cutoff in approximately three months.
                                                                                     25    6.    CONCLUSION
                                                                                     26          The ability to discover directly relevant, non-privileged information prior to
                                                                                     27    trial is fundamental to the judicial system – so much so that there is no dispute that
                                                                                     28    Plaintiffs are permitted to subpoena third parties for their information relevant to
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                                                                                                PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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                                                                                      1    the non-stayed claims heading to trial in this case. It is simply implausible that
                                                                                      2    Plaintiffs would not be permitted to obtain the crucial evidence now being withheld
                                                                                      3    by Visions and Seppala, central figures in the alleged conspiracy and parties to this
                                                                                      4    action. The Court should overrule the arbitration objection and order Visions and
                                                                                      5    Seppala to produce all documents in their possession, custody or control that are
                                                                                      6    responsive to Plaintiffs’ first set of requests for production of documents.
                                                                                      7    Dated: April 17, 2015                       Respectfully submitted,
                                                                                      8                                                TROUTMAN SANDERS LLP
                                                                                      9
                                                                                     10                                                By: /s/ Thomas H. Prouty
                                                                                                                                         Paul L. Gale
                                                                                     11                                                  Siavash Daniel Rashtian
                                                                                                                                         Thomas H. Prouty
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                                                                                                                                            Attorneys for Plaintiffs
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                                                                                                                                            BILL A. BUSBICE, JR., OLLA
                                                                                                                                            PRODUCTIONS, LLC, and
                                                                                     14                                                     ECIBSUB, LLC
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                                                                                                  PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: ARBITRATION-BASED DISCOVERY OBJECTION
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